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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SETH LINS,                                        :
                                                  :
                              Plaintiff,          :          CIVIL ACTION NO. 21-3975
                                                  :
       v.                                         :
                                                  :
PENNSYLVANIA SOCIETY FOR THE                      :
PREVENTION OF CRUELTY TO                          :
ANIMALS; NICOLE WILSON,                           :
individually and in her official capacity;        :
LISA GERMANIS, VMD, individually and              :
in her official capacity; JENNIFER                :
NIELDS, Humane Society Police Officer;            :
and DOES 1 to 10,                                 :
                                                  :
                              Defendants.         :

                                             ORDER

       AND NOW, this 23rd day of June, 2023, after considering (1) the defendants’ motion for

summary judgment (Doc. No. 36), (2) the plaintiff’s response in opposition to the motion (Doc.

No. 41), (3) the defendants’ reply in support of the motion (Doc. No. 49), (4) the plaintiff’s first

sur-reply in opposition to the motion (Doc. No. 54), (5) the defendants’ first sur-reply in support

of the motion (Doc. No. 56), and (6) the plaintiff’s second sur-reply in opposition to the motion

(Doc. No. 62); and after hearing oral argument on the motion; and for the reasons set forth in the

separately filed memorandum opinion, it is hereby ORDERED as follows:

       1.       The motion for summary judgment (Doc. No. 36) is GRANTED. Judgment is

ENTERED in favor of the defendants and against the plaintiff for all claims made against the

defendants in the amended complaint (Doc. No. 20); and
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2.       The clerk of court shall MARK this case as CLOSED.


                                          BY THE COURT:



                                          /s/ Edward G. Smith
                                          EDWARD G. SMITH, J.




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